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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )           8:10CR66
                                                )
             Plaintiff,                         )
                                                )        ORDER
v.                                              )   FOR THE PROGRESSION
                                                )    OF A CRIMINAL CASE
RYAN J. SHUFFTY,                                )
                                                )   CHIEF JUDGE BATAILLON
             Defendant.                         )

      Upon arraignment of Defendant this date and the entry of plea of not guilty,

IT IS ORDERED:

      1.     Trial of this case will be scheduled upon the expiration of the pretrial motion
             deadline, or as soon thereafter as the case may be called;

      2.     By March 24, 2010, if a request be made, counsel shall confer and accomplish the
             automatic discovery provided for in Rule 16, Fed. R. Cr. P., and shall adhere to the
             continuing duty to disclose such matters pursuant to Rule 16(c), Fed. R. Cr. P.;

      3.     If after compliance with Rule 16 there is necessity for the filing of pretrial motions,
             they shall be filed by April 6, 2010, and that time limit will not be extended by the
             court except for good cause shown. In this connection, the United States Attorney
             shall disclose Brady v. Maryland (and its progeny) material as soon as practicable.
             Should the Defendant nonetheless file a motion for such disclosure, such motion
             shall state with specificity the material sought. In the event that any motions are
             filed seeking bills of particulars or discovery of facts, documents, or evidence, as
             part of the motion the moving party shall recite that counsel for the movant has
             conferred with opposing counsel regarding the subject of the motion in an attempt
             to reach agreement on the contested matters without the involvement of the court
             and that such attempts have been unsuccessful. The motion shall further state the
             dates and times of such conferences;

      4.     If any pretrial motion is filed by either side, a copy thereof and the supporting brief
             required by the provisions of NECrimR 12.3(b)(1) shall be simultaneously filed.
             Opposing briefs shall be filed within five (5) working days thereafter. The filing of
             briefs may be delayed until after an evidentiary hearing on the motion but only upon
             a written request made within the original time to file a brief and upon order of the
             court. Motions in limine addressed to matters at trial shall be filed no earlier than
             fourteen (14) days before a scheduled trial date, and no later than two (2) business
             days before trial. Any motions filed outside this time period may be summarily
             denied.

      5.     If plea negotiations are to be instituted, they shall be concluded and advice thereof
             given to the trial judge not less than one week prior to trial date;

      6.     Any original application, motion or voucher which is intended to be presented ex


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        parte shall be delivered to the appropriate judicial officer (normally the Magistrate
        Judge), not to the Clerk of the Court, clearly captioned so as to disclose that the
        request is made ex parte, together with a supporting brief stating the basis for ex
        parte consideration;

 7.     Absent good cause shown, any application or motion for an order to produce the
        appearance of an incarcerated witness shall be made sufficiently in advance of the
        time needed for such testimony so as to allow the United States Marshal at least
        fourteen (14) days to arrange for such appearance. Any ex parte application for
        the subpoena of a witness pursuant to Fed. R. Cr. P. 17(b) shall contain the
        satisfactory showing required by said rule and shall be submitted sufficiently in
        advance of the time needed for such testimony so as to allow the United States
        Marshal adequate time in which to serve any subpoena.

 8.     Applications or vouchers pursuant to the Criminal Justice Act for authorization to
        hire third parties, to exceed the amounts set forth in the Criminal Justice Act, or for
        the expenditure of Criminal Justice Act funds shall be submitted on an appropriate
        CJA form available from the Clerk’s Office and supported by information
        necessary for the court to make a decision pursuant to the Criminal Justice Act,
        particularly;

        a.     The name, address and telephone number of the person sought to be hired
               (if applicable);
        b.     A specific statement of the amount sought and the method for computing
               said amount;
        c.     A specific statement setting forth the factual and legal bases which support
               the request;

 9.     Any motion for a continuance or an extension of deadlines shall set forth the
        reasons why the moving party believes that the additional time should be allowed
        by the court and shall justify the additional time with specific references to the
        appropriate provisions(s) of the Speedy Trial Act, 18 U.S.C. § 3161 et seq. Any
        defense motion for continuance or extension of deadlines, whether of the trial date
        or otherwise, shall be supported by a written affidavit of the Defendant stating
        that the Defendant agrees to the requested continuance or extension and
        understands that the additional time may be excludable time for the purpose of
        computing any Speedy Trial Act deadline; if the Defendant believes otherwise, the
        affidavit shall so state.

 10.    The Defendant shall be present at all pretrial arguments or hearings unless excused
        by the court, and if permission is sought to be absent, the Defendant shall deliver
        to the Court in advance an affidavit stating that the Defendant knowingly, intelligently
        and voluntarily gives up the right to attend such argument or hearing.

 DATED this 17th day of March, 2010.

                                       BY THE COURT:


                                       s/ F.A. Gossett
                                       United States Magistrate Judge


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